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                          UNITED STATES BANKRUPTCY COURT
                                       FOR THE
                             DISTRICT OF MASSACHUSETTS


 In re                                               IN PROCEEDINGS UNDER
 ANDREW GREENHUT,                                    CHAPTER 13
                Debtor                               CASE NO.: 19-10782


MOTION OF DEBTOR FOR SANCTIONS AGAINST CREDITOR GITA SRIVASTAVA
AND HER ATTORNEYS PURSUANT TO 28 U.S.C. § 1927 AND 11 U.S.C. § 105(A) AND
                FED. R. BANKR. PRO. 9011(B) AND (C)

       NOW COMES, the Debtor, Andrew Greenhut, and hereby moves this Honorable Court,

pursuant to 28 U.S.C. § 1927, 11 U.S.C. § 105(a), and Fed. R. Bankr. Pro. 9011(b) and (c),

hereby seeks sanctions against Creditor Gita Srivastava (“Creditor”), her attorney Alex Mattera

and his affiliated law firm Pierce Atwood, LLP, relating to the repetitive and vexatious conduct

of her and her counsel relative to the Fee Application of Special Counsel Charles “Chad”

Baruch. As grounds therefor, the Debtor hereby states as follows:


                           FACTUAL BACKGROUND OF CASE

1. On March 12, 2019, the Debtor filed his Voluntary Petition under Chapter 13 of the

   Bankruptcy Code.

2. Among the unsecured creditors listed in the Debtor’s Schedule “E/F” was that of Gita

   Srivastava as a disputed unsecured claim in the face amount of $164,500.00.

3. The Section 341(a) Meeting of Creditors was conducted by the Chapter 13 Trustee on May 1,

   2019. The Creditor attended the Section 341 Meeting, by and through her counsel Alex

   Mattera.

4. On May 6, 2019, the Debtor filed an Amended Motion to Employ Special Counsel, Charles

   “Chad” Baruch, to represent the Debtor before the Texas Supreme Court relative to an appeal


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      taken by the Creditor from a decision in favor of the Debtor by the Texas Fifth Court of

      Appeals (Dallas Division) concerning the legal propriety of the termination of the Debtor’s

      parental rights vis a vis the Creditor’s daughter.

5. On May 20, 2019, the Creditor filed a Response to the Amended Motion to Employ Special

      Counsel, Charles “Chad” Baruch, alleging, inter alia, that “[t]here is concern that the Debtor

      may attempt to utilize Mr. Baruch’s services in connection with further collateral attacks on

      the final judgment approving his proposed property settlement as well, all while the

      bankruptcy stay prevents Ms. Srivastava from moving forward on her own rights to collect

      on final judgments against him. Ms. Srivastava, as the Debtor’s only legitimate creditor of

      any consequence, should not be expected to bear the expense of yet another frivolous

      challenge to any of the nine orders previously defeating the Debtor’s repeated attempts.”

6. On May 21, 2019, the Creditor, by and through her counsel Alex Matera, at that time of

      Partridge, Snow and Hahn, LLP (now of Pierce Atwood, LLP), filed a Proof of Claim in the

      face amount of $164,500.00, exactly matching the figure listed by the Debtor in his Schedule

      “E/F” based upon a “property division” claim that she has as against the Debtor.

7. On June 5, 2019, after the bar date for the filing of Proofs of Claim had elapsed, the Creditor

      by and through her counsel Alex Mattera, filed an Amended Proof of Claim in the face

      amount of $290,749.17, based upon a “property settlement pursuant to final judgment”

      against the Debtor.\1



1/
    The underlying legal basis Amended Proof of Claim derives from her allegations set forth in
paragraph 12 of the Creditor’s Motion to Dismiss, the Creditor is seeking an additional
$126,249.17, not in her individual capacity, but rather in a representative capacity, on behalf of
the parties’ daughter, D.S., so-called. The claim for the differential amount of $126,249.17
belongs to a separate, distinct party, the parties’ child, as the true “party in interest”. As such, the
enforcement of such a claim that requires a separate proof of claim be filed since the claim
relates to the rights of a person other than the Creditor herself. Consequently, because the
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8. On the very same day her Amended Proof of Claim, June 5, 2019, the Creditor filed an

   Objection to the Confirmation of the Debtor’s First Amended Chapter 13 Plan and a Motion

   to Dismiss, largely based upon the amount that she listed as being owed to her on her

   Amended Proof of Claim.

9. In due course, the Debtor filed an (a) an Objection to the Amended Proof of Claim of the

   Creditor, (b) a Response to the Creditor’s Objection to the Confirmation of the Debtor’s

   Chapter 13 Plan and (c) an Objection to the Creditor’s Motion to Dismiss.

10. On June 20, 2019, the Creditor filed an Objection to the Proof of Claim of Gloria and Alan

   Greenhut (the “Greenhuts”). The Greenhuts retained separate counsel and filed a Response to

   the Creditor’s Objection to the Greenhuts’ Proof of Claim on July 16, 2019.

11. On July 2, 2019, the Court issued an Order granting the Debtor’s Motion to Employ Special
    Counsel Charles “Chad” Baruch and issued an Order stating:

   HEARING HELD ON JULY 27, 2019. FOR THE REASONS STATED ON THE
   RECORD, THE DEBTOR'S APPLICATION TO EMPLOY CHARLES "CHAD" BARUCH
   AS SPECIAL COUNSEL IS HEREBY GRANTED. SPECIAL COUNSEL'S FEES, OF
   COURSE, REMAIN SUBJECT TO THE COURT'S LATER DETERMINATION AS TO
   WHETHER THE FEES SHOULD BE AUTHORIZED AND PAID. MS. SRIVASTAVA'S
   RIGHT TO OBJECT TO THOSE FEES IS NOT WAIVED BY THE ALLOWANCE OF
   THIS MOTION. (See ECF Doc. No. 81.)




“Amended Proof of Claim” was filed on June 5, 2019, well after the bar date for the filing of all
such unsecured claims had elapsed, it is subject to disallowance pursuant to 11 U.S.C. Section
502(b)(9) for not being timely-filed, despite the Creditor having had full knowledge of the bar
date and having actively participated in this bankruptcy case. See In re San Miguel Sandoval,
327 B.R. 493 (B.A.P. 1st Cir., 2005) (notice sent to attorney sufficient to impose obligation on
creditor to monitor proceedings; untimely filed proof of claim disallowed as creditor’s counsel
was aware of claim deadline); accord In re Manausa, 2013 WL 12233953 (Bankr. N.D. Fla.
Dec. 12, 2013) (e-mail notice received by counsel providing less than thirty-six (36) hours’
notice held insufficient). See also Gee v. Breedlove (In re Breedlove), Adv. Pro. No. 16-5179
(Bankr. N.D. Ga., 2018).



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12. On September 19, 2019, the Court held a preliminary hearing and hear oral arguments

   concerning (a) the Objection filed by Gita Srivastava to Confirmation of the Plan, (b) Motion

   filed by Gita Srivastava to Dismiss Case, (c) Objection filed by the Debtor to Amended Proof

   of Claim of Gita Srivastava and (d) the Objection filed by Gita Srivastava to Proof of Claim

   the Greenhuts (the “consolidated Matters”) .

13. During the Course of the Court’s dialogue with counsels for the various parties, the Court

   raised the possibility of assigning this matter to a Mediator, to which both Debtor’s Counsel

   and the Greenhuts’ Counsel immediately agreed. However, the Creditor’s counsel was more

   reticent regarding this matter and indicated he would need to speak first with his client. To

   that end, the Court issued an Order concerning each of the Consolidated Matters, stating:


   THE PARTIES ARE CONSIDERING MEDIATION OF THIS MOTION. ALL PARTIES
   SHALL REPORT TO THE DEBTOR'S COUNSEL NO LATER THAN 4 P.M. ON
   SEPTEMBER 26, 2019 WHETHER THEY CONSENT TO MEDIATION. DEBTOR'S
   COUNSEL SHALL FILE A REPORT WITH THE COURT AT OR BEFORE 4:30 P.M. ON
   SEPTEMBER 26, 2019 WHETHER THE PARTIES CONSENT TO MEDIATION. THE
   CHAPTER 13 TRUSTEE NEED NOT PARTICIPATE IN THE MEDIATION. (See ECF
   Document No.’s 116, 117, 118 and 119)

14. On September 26, 2019, the Debtor filed a Statement indicating that the “the Debtor,

   Creditors Gloria and Alan Greenhut and Creditor Gita Srivastava, after consultations with

   their respective counsels, were not able at this time to arrive at an agreement to commit the

   contested matters presently before the Court in the above-captioned Chapter 13 case to

   mediation.”

15. The following day, September 27, 2019, Chief Judge Panos reassigned the above-captioned

   Chapter 13 case to Judge Bostwick. Upon transfer of the case from Judge Bailey to Judge

   Bostwick, the Court requested a Statement of Proceedings to be filed disclosing the course of

   the State-Court Litigation between the Debtor and the Creditor. On December 4, 2019, the


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      Creditor filed her Statement in response to the Court’s Order (See ECF Doc. No. 144, Page 5,

      ¶ 16) and stated, inter alia, that:

             The Texas Appeals Court overturned the denial of the termination bill of

          review on appeal, while expressly holding that the Agreed Divorce Property

          Judgment was separately enforceable and affirming the denial of Debtor’s bill of

          review in the Divorce Case. Srivastava has appealed the Texas Appeals Court’s

          reversal of the termination bill of review to the Texas Supreme Court.\2


16. On January 9, 2020, Special Counsel Charles “Chad” Baruch filed a Fee Application seeking

      compensation of $9,989.00 and expenses of $10.29 for services rendered in connection with

      the Texas Suprema Court Parental Termination Appeal (the “First Baruch Fee Application”)

      for the period between 10/28/2019 to 11/23/2019.

17. On February 10, 2020, the Creditor filed an Objection to the First Baruch Fee Application

      (See ECF Document No. 154), claiming, among other things, that the First Baruch Fee

      Application should be denied because:

          a. “Debtor is a serial litigant who is no stranger to the courts and has already dragged his

              former wife and creditor Srivastava through four years of litigation. The Debtor's

              bankruptcy filing, coming contemporaneously with his continued efforts to challenge

              Texas divorce court orders, is merely the latest attempt to evade long-standing court

              orders. The Debtor has spent the last three years spending the money he owes

              Srivastava on fnvolous [sic] litigation attacking the agreed divorce judgment. Texas

              courts have rejected his attacks, as should this Court. The Debtor's retention of



2/
    See ECF Doc. No. 144-1, Page 5, ¶ 16 (Emphasis supplied.) See also Exhibit “A” to
“Statement of Gita Srivastava”, ECF Doc. No. 144-2.
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           Baruch as counsel arises from the Debtor's own refusal to abide by judgments to

           which he previously agreed in the Texas courts. Further exhausting assets which

           should have long ago been paid to Srivastava is not an appropriate use of the Debtor's

           estate.”;

       b. “While Srivastava does not, in principle, oppose the employment of counsel to assist

           the Debtor in the pending Texas proceedings, she does expressly object to payment of

           estate assets to such counsel, especially in light of the repeated and failed past

           collateral attacks of the Debtor.”; and that

       c. “Equity demands that the Debtor not be emboldened to engage additional counsel in

           connection with further collateral attacks on final judgments, including the Agreed

           Divorce Property Judgment approving his proposed property settlement, all while the

           bankruptcy stay prevents Srivastava from moving forward on her own rights to

           collect on final judgments against him. Srivastava, as the Debtor's only legitimate

           creditor of any consequence, should not be expected to bear the expense of yet

           another fnvolous [sic] challenge to any of the ten orders previously defeating the

           Debtor's repeated attempts.”

18. In the face of the Creditor’s Objection to the First Baruch Fee Application, Special Counsel,

   the Special Counsel withdrew the First Baruch Fee Application on February 24, 2020.

19. On March 30, 2020, Special Counsel Charles “Chad” Baruch filed a new Fee Application

   seeking compensation of $9,450.00 and expenses of $26.25 for services rendered in

   connection with the Texas Suprema Court Parental Termination Appeal (the “Second Baruch

   Fee Application”) for the period between 2/24/2020 to 3/5/2020.




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20. On April 15, 2020, the Creditor filed an Objection to the Second Baruch Fee Application

   (See ECF Document No. 169), claiming among other things, that the Second Baruch Fee

   Application should be denied because:

       a. “Debtor is a serial litigant who is no stranger to the courts and has already dragged his

           former wife and creditor Srivastava through four years of litigation. The Debtor’s

           bankruptcy filing, coming contemporaneously with his continued efforts to challenge

           Texas divorce court orders, is merely the latest attempt to evade long-standing court

           orders. The Debtor has spent the last three years spending the money he owes

           Srivastava on frivolous litigation attacking the agreed divorce judgment. Texas courts

           have rejected his attacks, as should this Court. The Debtor’s retention of Baruch as

           counsel arises from the Debtor’s own refusal to abide by judgments to which he

           previously agreed in the Texas courts. Further exhausting assets which should have

           long ago been paid to Srivastava is not an appropriate use of the Debtor’s estate.”;

       b. “While Srivastava does not, in principle, oppose the employment of counsel to assist

           the Debtor in the pending Texas proceedings, she does expressly payment of estate

           assets to such counsel, especially in light of the repeated and failed past

           collateral attacks of the Debtor.”; and that

       c. “Equity demands that the Debtor not be emboldened to engage additional counsel

           in connection with further collateral attacks on final judgments, including the Agreed

           Divorce Property Judgment approving his proposed property settlement, all while the

           bankruptcy stay prevents Srivastava from moving forward on her own rights to

           collect on final judgments against him. Srivastava, as the Debtor’s only legitimate

           creditor of any consequence, should not be expected to bear the expense of yet



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           another frivolous challenge to any of the ten orders previously defeating the Debtor’s

           repeated attempts.”

21. On April 28, 2020, the Court held a telephonic hearing on the Second Baruch Fee

   Application in which Debtor’s Counsel, Special Counsel and Creditor’s Counsel participated.

   During the course of his oral arguments, Creditor’s Counsel repeated how the payment of

   Special Counsel’s Fee Application was inappropriate because the Debtor’s appeal to the

   Texas Supreme Court was frivolous, repeating orally what he had previously written

   throughout the history of this case. The Court, based upon the recollection of Debtor’s

   Counsel, then orally remonstrated with Creditor’s Counsel that the appeal in question was

   taken by Creditor’s Counsel’s own client to the Texas Supreme Court based upon the fact

   that the Texas Court of Appeals had ruled in the Debtor’s favor on the issue of the legal

   propriety of the termination of the Debtor’s parental rights .

22. Consequently, as a result of the Creditor’s appeal to the Texas Supreme Court, the Debtor’s

   actions in defending the same, employing Special Counsel and seeking the payment of

   Special Counsel for such a defense simply could not be characterized as “frivolous”, as

   repeatedly exhorted by Creditor’s Counsel. Moreover, the Court found that the salient issue

   was solely as to whether the services performed by Special Counsel were of benefit to the

   Debtor, rather than the ‘bankruptcy estate” at large as claimed by the Creditor.

23. Ultimately, the Court issued the following Order concerning the Second Baruch Fee

   Application:

   HEARING HELD. FOR THE REASONS SET FORTH ON THE RECORD, THE COURT
   FINDS THAT THE LEGAL SERVICES RENDERED BY MR. BARUCH WERE OF
   BENEFIT TO THE DEBTOR AND THAT THE FEES ARE REASONABLE AND
   OVERRULES THE OBJECTION. MR. BARUCH SHALL FILE AND SERVE A
   SUPPLEMENT TO THE APPLICATION BY MAY 19, 2020 WHICH INCLUDES ALL
   FEES SINCE HIS ENGAGEMENT BY THE ESTATE, PROVIDES INFORMATION ON

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   THE SOURCE OF ANY PAYMENTS MADE SINCE HIS ENGAGEMENT, AND
   CONFIRMS WHETHER THE ALLOWED FEES WILL BE PAID BY APPLICATION OF
   THE RETAINER. MS. SRIVASTAVA AND THE CHAPTER 13 TRUSTEE MAY FILE
   ANY OBJECTIONS TO THE ADDITIONAL INFORMATION PROVIDED IN THE
   SUPPLEMENT BY JUNE 2, 2020. THE COURT WILL RULE ON THE APPLICATION
   AFTER CONSIDERING THE SUPPLEMENT AND ANY FURTHER OBJECTIONS. (See
   ECF Document No. 171)

24. On May 4, 2020, Special Counsel, in compliance with the Court’s Order of April 28, 2020,

   submitted his “Supplement to Application for Compensation” with the Court, delineating all

   of the information requested in the Order of April 28, 2020, and served the same on all

   interested parties.

25. On June 2, 2020, the Creditor filed her “Response of Creditor Gita Srivastava to Supplement

   to Application by Attorney for the Debtor for Compensation”, claiming, among other matters

   that the Second Baruch Fee Application be denied, and “ requiring the return of the Retainer

   [of Special Counsel] to the Debtor’s estate for distribution to legitimate creditors” because:

       a. “The Debtor’s appeal to the Texas Supreme Court in connection with the voluntary

           termination of his parental rights in connection with Srivastava’s child represents a

           five-yearlong, fruitless attempt to collaterally attack an agreed final judgment which

           he never appealed. The Debtor’s attempt to overturn this judgment was never

           anything but frivolous and wasteful.”;

       b. “The Debtor has incurred significant legal fees as a serial litigant, bringing multiple,

           repetitive, and frivolous actions to challenge consensual final judgments with no

           realistic hope of success. The latest decision by the Supreme Court of Texas

           substantiates this position. Accordingly, it is inappropriate for the Debtor to fritter

           away estate assets that should be paid to creditors by devoting those assets to his

           doomed legal challenges.”; and



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       c. “In the Supplement, Baruch not only discloses the $4,800 payment by the Debtor’s

           mother, but is emphatic in his statement that the payment constituted a gift from the

           Debtor’s mother to the Debtor. This is consistent with the Debtor’s mother’s prior

           payments to attorneys retained by the Debtor, as Srivastava submits that all such

           payments were gifts. The Debtor’s mother and father allegedly provided to him vast

           sums of money with no documentation whatsoever, only papering up such gifts as

           purported “loans” on the eve of bankruptcy. The gift to pay Baruch’s fee is consistent

           with this practice of giving money to the Debtor or paying bills on his behalf, and

           only later characterizing the transfers as gifts or loans depending on the desired legal

           consequence. Such conduct supports Srivastava’s allegations of the Debtor’s bad

           faith.” [Emphasis supplied.].


                        FIRST BASIS FOR RELIEF REQUESTED
                      UNDER 28 U.S.C. § 1927 AND 11 U.S.C. § 105(a)

26. The provisions of 28 U.S.C. § 1927 state as follows: “Any attorney or other person admitted

   to conduct cases in any court of the United States or any Territory thereof who so multiplies

   the proceedings in any case unreasonably and vexatiously may be required by the court to

   satisfy personally the excess costs, expenses, and attorneys' fees reasonably incurred because

   of such conduct.” In interpreting the language of 28 U.S.C. § 1927, the First Circuit has been

   helpful in providing guidance:

               In the First Circuit's view, Congress' use of the verb "multipl[y]" in the text
       of the statute "clearly contemplates that, to be sanctionable thereunder, conduct
       must have an effect on an already initiated proceeding." Id. Litigation conduct
       qualifies as "vexatious" within the meaning of § 1927 if it is " ‘harassing or
       annoying, regardless of whether it is intended to be so.’ The First Circuit has also
       explained that § 1927"does not apply to ‘[g]arden-variety carelessness or even
       incompetence,’ but instead requires that the ‘attorney's actions ... evince a studied



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         disregard of the need for an orderly judicial process, or add up to a reckless breach
         of the lawyer's obligations as an officer of the court.\3

                                               ...

                  Although some courts of appeals have construed § 1927's language,
         "unreasonably and vexatiously," to require a finding of subjective bad faith as a
         predicate to the imposition of sanctions, the First Circuit has not. Cruz v. Savage,
         896 F.2d 626, 631–32 (1st Cir.1990) (stating "we do not require a finding of
         subjective bad faith" to justify § 1927 sanctions) (citations omitted). In assessing
         whether an attorney acted unreasonably and vexatiously, the First Circuit instructs
         courts to apply an objective standard. Id. at 632. "[C]ommon sense suggests that
         [the trial judge] must be accorded wide latitude in drawing inferences as to when
         multiplication of the proceedings crosses the line between what is acceptable if
         tedious and what is unreasonable and vexatious."\4

27. Notably, the First Circuit Bankruptcy Appellate Panel has determined that, based upon

      First Circuit precedent, a law firm is vicariously liable for the actions taken by one of

      its attorneys when that attorney violated 28 U.S.C. § 1927. \5

28. Furthermore, it has been found that sanctionable conduct includes by way of example,

      "resubmitting a motion that had previously been denied; bringing a motion based on

      'facts' the opposite of which were previously found by the court; continually engaging

      in obfuscation of the issues, hyperbolism and groundless presumptions in addition to

      insinuating that the court was biased; and waiting until the eve of trial before making a




3/
      In re MJS Las Croabas Props., Inc., 545 B.R. 401, 418-419 (1st Cir. BAP, 2016).
4/
      Id. at 419.
5/
     Id. at 421 (“Although the First Circuit has not explicitly authorized the imposition of § 1927
sanctions against a law firm, it did so implicitly in Jensen, supra. There, the First Circuit
reviewed a district court's imposition of sanctions against a law firm under § 1927 without ever
stating or intimating that law firms were beyond the statute's reach, and remanded the matter for
reasons unrelated to this issue. See Jensen, 546 F.3d at 68. In addition to the First Circuit's tacit
approval of a court's ability to impose § 1927 against a law firm, we find the reasoning of
Brignoli, supra, and cases similarly decided, persuasive. We, therefore, conclude that the
bankruptcy court did not err when it ruled that § 1927 permits sanctions against law firms.”)
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      jury demand."\6 It has been further found that the provisions of 11 U.S.C. § 105(a) may

      be utilized to expand the scope of 28 U.S.C. § 1927 in appropriate circumstances. \7

29. In the present case, Creditor’s Counsel has repeatedly interjected objections based

      upon the same false premises, even when this Court has, both verbally and in writing,

      found that the factual predicate statements made by him are patently not true and

      therefore overruled the same. These factual and logical misrepresentations include, but

      are not limited to (a) that the appeal heard before the Texas Supreme Court was as a

      result of the “frivolous” litigation tactics of the Debtor, (b) that the appeal before and

      heard by the Texas Supreme Court was taken by the Debtor in the first instance; and

      (c) that the Debtor’s “collateral attack” on the judgment terminating his Parental

      Rights to the parties’ child “was never anything but frivolous and wasteful”, all

      despite the fact that the Texas Court of Appeals reversed the judgment below and

      ruling in favor of the Debtor.

30. This “false narrative” manufactured by the Creditor’s Counsel is in evidence in

      virtually every single substantive paper and pleading submitted on behalf of the

      Creditor during the course of this case. The Creditor and her counsel have repetitively

      contended that it is the Debtor’s pre-petition litigation behavior that serves as the basis

      for the legal allegation that the Debtor Chapter 13 Plan and the Debtor’s Chapter 13

      case should be dismissed based upon the Debtor’s lack of “good faith”.




6/
    In re Emanuel, 422 B.R. 452, 465 (Bankr. S.D.N.Y. 2010) (citing Keller v. Mobil Corp.,
55 F.3d 94, 99 (2d Cir. 1995)).
7/
    See e.g. In re Brown, 444 B.R. 691,695 (Bankr. E.D. Tex., 2009) (Sanctions awarded under
28 U.S.C. 1927 can, under 11 U.S.C § 105(a), be expanded into include the creditor represented
by the offending counsel)
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31. This belligerently oppositional conduct by the Creditor’s Counsel is ostensibly done

   with the ostensible knowledge and implicit support of the Creditor herself, as

   evidenced by her steadfast refusal to attempt to resolve her disputes with the Debtor

   through voluntary mediation, despite the encouragement of Judge Bailey in times past.

   Indeed, time has now clearly demonstrated that the Creditor is pursuing her aggressive

   litigation posture, through the aegis of her counsel, primarily based upon her

   overarching desire to punish the Debtor and those lawfully employed by him for

   perceived past wrongs during their marital relationship. Therefore, it is clear that the

   Creditor is herself is an enabler and encourager of her counsel’s pugnacious actions.


                         SECOND BASIS FOR RELIEF
                   UNDER FED. R. BANKR. PRO. 9011(B) AND (C)

32. The provisions of Fed. R. Bankr. Pro. 9011(b) state, in pertinent part, as follows:


      By presenting to the court (whether by signing, filing, submitting, or later
      advocating) a petition, pleading, written motion, or other paper, an attorney or
      unrepresented party is certifying that to the best of the person's knowledge,
      information, and belief, formed after an inquiry reasonable under the
      circumstances,—

       (1) it is not being presented for any improper purpose, such as to harass or to cause
           unnecessary delay or needless increase in the cost of litigation;

       (2) the claims, defenses, and other legal contentions therein are warranted by
           existing law or by a nonfrivolous argument for the extension, modification, or
           reversal of existing law or the establishment of new law; [and]

       (3) the allegations and other factual contentions have evidentiary support or, if
           specifically so identified, are likely to have evidentiary support after a
           reasonable opportunity for further investigation or discovery . . . .

33. The Debtor asserts that the representations made in the “Response of Creditor Gita

   Srivastava to Supplement to Application by Attorney for the Debtor for Compensation” dated

   and filed June 2, 2020 violate the provisions of Fed. R. Bankr. Pro. 9011(b) in that (a) the

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      factual contentions made therein do not have the required “evidentiary support”, (b) the

      “claims, defenses, and other legal contentions therein” are not “warranted by existing law or

      a non-frivolous argument for the extension, modification, or reversal of existing law or the

      establishment of new law”\8 and (c) that, based upon the Creditor’s and her counsel

      repetitious pattern of conduct evidenced in the papers and pleadings filed by them in this case

      making those same patently false allegations, the document filed was indeed presented for an

      “improper purpose, such as to harass or to cause unnecessary delay or needless increase in

      the cost of litigation”.

34. On June 2, 2020, Debtor’s Counsel sent an email providing the requisite notification of the

      substance of the within Motion of the violation of Fed. R. Bankr. Pro. 9011 and basis for the

      Debtor seeking sanctions against him, his law firm and his client. to Creditor’s Counsel,

      thereby meeting the requirements Fed. R. Bankr. Pro. 9011(c)(1)(A). A true and accurate

      copy of the email providing the notification under . R. Bankr. Pro. 9011(c)(1)(A) is attached

      hereto as Exhibit “A”.




8/
    In the Creditor’s “Response of Creditor Gita Srivastava to Supplement to Application by
Attorney for the Debtor for Compensation”, counsel for the Creditor, acknowledges that “Baruch
not only discloses the $4,800 payment by the Debtor’s mother, but is emphatic in his statement
that the payment constituted a gift from the Debtor’s mother to the Debtor.” Under the express
provisions of 11 U.S.C. § 329(b)all(2), any monies paid by the debtor's parents as a gift, so
alleged, would, to the extent found to “exceed the reasonable value of the services provided” by
Attorney Baruch, would necessarily have to be returned back to the Debtor's parents, and would
not be distributable to the bankruptcy estate. Nonetheless, in the Creditor's prayer for relief in the
same document, the Creditor requests that this court issue an order “ requiring the return of the
Retainer to the Debtor’s estate for distribution to legitimate creditors”. This is manifestly against
the weight of the law on this issue and no good faith argument is made by creditor's Counsel in
the document for variance from this basic proposition of statutory law.
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35. More than twenty-one (21) days have elapsed since the Debtor, by his Counsel, served notice

      of the purported violation under Fed. R. Bankr. Pro. 9011(c)(1)(A) and the Creditor and her

      counsel have failed to withdraw the same from the Court’s docket.

36. Given the pattern of the Creditor’s course of conduct and her Counsel’s willingness to ignore

      the directives and findings, both written and oral, of this Court, the Debtor asserts that

      appropriate sanctions against the Creditor and her Counsel, should include, but not be limited

      to, (a) the denial of the Creditor’s Motion to Dismiss Chapter 13 Case and (b) the sustaining

      of the Debtor’s Objection to the Amended Proof of Claim of Gita Srivastava. Because the

      nature of the violation of Fed. R. Bankr. Pro. 9011(b) is emblematic of the Creditor’s and her

      lawyer’s entire strategy of engaging in character assassination of the Debtor, through the use

      of a repetitive false narrative perpetuated by them, it is altogether fitting that the legal

      mechanisms upon which they wish to continue to proceed with their “scorched-earth policy”

      toward the Debtor and this Court in this case, be eliminated. Such a sanction vindicates the

      Court’s legitimate right to control its docket and balances the Creditor’s right of Due Process.

      against the Debtor’s right to be free from the Creditor’s oppressive and abusive conduct in

      this case.\9


WHEREFORE, the debtor respectfully requests that the court issue an Order:




9/
    By narrowly tailoring this sanction specifically to the proceedings related to Creditor’s
Motion to Dismiss Chapter 13 Case and the Debtor’s Objection to the Amended Proof of Claim
of Gita Srivastava, this preserves the Creditor’s Due Process rights in the future in that the
Creditor may still proceed with all any new objection to any Amended Chapter 13 Plan, based
upon any other ground other than those set forth in the Creditor’s Motion to Dismiss Chapter 13
Case and her Response to the Debtor’s Objection to the Amended Proof of Claim of Gita
Srivastava.
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1. Finding that Creditor’s Counsel has violated the provisions of 28 U.S.C.§ 1927 and Fed. R.

   Bankr. Pro. 9011(b) with the filing of the “Response of Creditor Gita Srivastava to

   Supplement to Application by Attorney for the Debtor for Compensation” dated June 2,

   2020.

2. Finding that the aforementioned violation by Creditor’s Counsel is done with the support and

   encouragement of the Creditor herself and represents a pattern and repetitive course of

   conduct constituting an “abuse of process” within the meaning of 11 U.S.C. § 105(a);

3. Directing, as sanction therefor:

       a. the denial and dismissal of the Motion of Creditor Gita Srivastava to Dismiss Chapter

           13 Case and the sustaining of the Objection of the Debtor to the Amended Proof of

           Claim of Creditor Gita Srivastava; and

       b. The award of legal fees and costs against the Creditor Gita Srivastava, her counsel,

           Alex Mattera, and his law firm Pierce Attwood, LLP, jointly and severally, in the

           amount of $3,500.00, or such other amount as the court deems appropriate; and

4. For such other and further relief as the Court deems mete and just under the circumstances.

                                            ANDREW GREENHUT, Debtor
                                            By his Attorney,

Date: 7/6/2020                              /s/ Richard N. Gottlieb, Esq.
                                            Richard N. Gottlieb, Esq. BBO# 547970
                                            Law Offices of Richard N. Gottlieb
                                            Ten Tremont Street
                                            Suite 11, 3rd Floor
                                            Boston, MA 02108
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rnglaw@verizon.net

From:                rnglaw@verizon.net
Sent:                Tuesday, June 2, 2020 2:22 PM
To:                  'amattera@pierceatwood.com'
Subject:             Notice of Rule 9011 Violation; Demand for Withdrawal of Pleading

Importance:          High


Dear Mr. Mattera:

I have just reviewed your “RESPONSE OF CREDITOR GITA SRIVASTAVA TO SUPPLEMENT TO APPLICATION BY ATTORNEY
FOR THE DEBTOR FOR COMPENSATION” filed earlier today. There are a number of substantial misstatements of both
law and fact in your filed document, specifically that the appeal to the Texas Supreme Court was the result of “frivolous
actions to challenge consensual final judgments with no realistic hope of success” on the part of the Debtor whom I
represent in his Chapter 13 case. The fact that the Texas Supreme Court reversed the Texas Court of Appeals in ruling in
favor of your client does not vitiate the incontestable fact that the Texas Court of Appeals did, indeed, rule in favor of
the Debtor and that, as even Judge Bostwick noted on the record in remonstrating you on this same issue, that the
appeal to the Texas Supreme Court was taken by your own client and not the Debtor. Moreover, you have cited no
statutory or legal basis for the disgorgement of any monies paid to my client’s domestic relations firm or for the
proposition that any such disgorgement, even were it to be ordered, could lawfully be turned over to anyone other than
the Debtor or his parents.

Indeed, during the course of the April 28, 2020 hearing Judge Bostwick explicitly told you in no uncertain terms that the
only basis for any response would necessarily have to be based on the value or lack thereof to the Debtor for the
professional services provided by Mr. Baruch and not the same arguments that were previously made. In filing your
“RESPONSE OF CREDITOR GITA SRIVASTAVA TO SUPPLEMENT TO APPLICATION BY ATTORNEY FOR THE DEBTOR FOR
COMPENSATION", you have willfully ignored and defied the Court’s instructions. Consequently, unless within twenty‐
one (21) days from today you do not withdraw the “RESPONSE OF CREDITOR GITA SRIVASTAVA TO SUPPLEMENT TO
APPLICATION BY ATTORNEY FOR THE DEBTOR FOR COMPENSATION", I will be forced to file a Motion for Sanctions under
Fed. R. Bankr. Pro 9011(b) and (c) against both you and your law firm, Pierce Attwood, LLP, which is jointly responsible
for your actions under the last sentence of Fed. R. Bankr. Pro. 9011(c)(1)(A). The basis for said Motion will be that the
“RESPONSE OF CREDITOR GITA SRIVASTAVA TO SUPPLEMENT TO APPLICATION BY ATTORNEY FOR THE DEBTOR FOR
COMPENSATION” was (a) presented for the purpose of harassment and the needless increase in cost of litigation in this
Chapter 13 case as there are duplicative of arguments previously made before and rejected by Judge Bostwick, and that
(b) the allegations made by you in said paper are, at their core, without evidentiary support as the Debtor’s defense of
your client’s appeal to the Texas Supreme Court of his success in the Texas Court of Appeals cannot be considered
frivolous or wrongful in any way.

On a personal note, I am saddened to have to send you this Notice of Rule 9011 Violation because of our mutual respect
for one another in this and other matters before the U.S. Bankruptcy Court and I therefore hope that you will, upon
reflection, determine that discretion is, indeed, the better part of valor, and do the appropriate thing and withdraw the
offending paper before any action is needed on my part. If you have any questions, please feel free to contact me. With
great earnestness, I remain . . .

Very truly yours,


/s/Richard N. Gottlieb, Esq.
Law Offices of Richard N. Gottlieb
                                                            1
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*Original Certification 1995; Re-Certified 2000, 2005 and 2010
Pursuant to Mass. SJC Rule 3:03, The American Board of Certification is “a private organization whose
standards for certification are not regulated by the Commonwealth of Massachusetts.”




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                           UNITED STATES BANKRUPTCY COURT
                                        FOR THE
                              DISTRICT OF MASSACHUSETTS


 In re                                                IN PROCEEDINGS UNDER
 ANDREW GREENHUT,                                     CHAPTER 13
                Debtor                                CASE NO.: 19-10782


                                  CERTIFICATE OF SERVICE

       I, Richard N. Gottlieb, Esq., do hereby certify that I have this day served a copy of the

Motion of Debtor for Sanctions against creditor Gita Srivastava and her Attorneys Pursuant to 28

U.S.C. § 1927 and 11 U.S.C. § 105(a) and Fed. R. Bankr. Pro. 9011(b) and (c), by First-class

mail postage paid and/or electronically via the CM/ECF Electronic Messaging System on the

persons listed below.


Date: July 6, 2020                           /s/ Richard N. Gottlieb, Esq.
                                             Richard N. Gottlieb, Esq. BBO # 547970
                                             Law Offices of Richard N. Gottlieb
                                             Ten Tremont Street
                                             Suite 11, 3rd Floor
                                             Boston, Massachusetts 02108
                                             (617) 742-4491
                                             rnglaw@verizon.net
PERSONS SERVED:

Carolyn Bankowski, Esq.                               Pierce Atwood, LLP
Chapter 13 Trustee                                    Attn: William L. Worden, Esq., Partner-in-
(Served via CM/ECF)                                   Charge
                                                      100 Summer Street
Alex Mattera, Esq.                                    Boston, MA 02110
Pierce Atwood, LLP
Counsel to Gita Srivastava
(Served via CM/ECF)




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